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 6 Attorneys for Plaintiff
   United States of America
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:13-CR-160 MCE
11
                                  Plaintiff,           STIPULATION AND ORDER SETTING
12                                                     BRIEFING SCHEDULE ON DEFENDANT
                           v.                          ALEXANDER SAKHANSKIY’S MOTION FOR
13                                                     JUDGMENT OF ACQUITTAL, AND IN THE
     ALEXANDER SAKHANSKIY, and LARISA                  ALTERNATIVE, MOTION FOR NEW TRIAL,
14   SAKHANSKIY,                                       AND DEFENDANT LARISA SAKHANSKIY’S
                                                       MOTION FOR NEW TRIAL
15                               Defendants.
                                                       DATE: No hearing date noticed by movant
16                                                     TIME: 9:00 a.m.
                                                       COURT: Hon. Morrison C. England, Jr.
17
18          The United States of America (“government”), through its attorneys of record, Assistant U.S.
19 Attorneys Michael D. Anderson and Nirav K. Desai, and defendants Alexander Sakhanskiy and Larisa
20 Sakhanskiy, through their respective attorneys, Mark Reichel, Esq. and Shari Rusk, Esq., hereby
21 stipulate as follows:
22          1.     On September 11, 2015, a jury returned a verdict against defendants Alexander and
23 Larisa Sakhanskiy on the four charged offenses, one of which carries a mandatory minimum sentence of
24 ten years of imprisonment for each defendant.
25          2.     On the evening of September 24, 2015, defendant Alexander Sakhanskiy filed a Motion
26 for Judgment of Acquittal, or in the Alternative, Motion for New Trial, hereinafter “Motion” (dkt. 164).
27          3.     Defendant Larisa Sakhanskiy intends to file a motion for new trial and has requested a
28 one-week extension to file that motion. The government does not oppose a one-week extension to file


      STIPULATION & ORDER                               1
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 1 that motion for new trial, to October 1, 2015.
 2          4.     Assistant U.S. Attorney Nirav Desai, who will be preparing the government’s opposition

 3 to the Motion and any forthcoming motion filed by defendant Larisa Sakhanskiy, will be out of the
 4 office and unable to work on the opposition briefs between September 25, 2015, and October 4, 2015.
 5          5.     In light of the foregoing, the parties agree to, and request that the Court approve, the

 6 following proposed briefing schedule:
 7                 a.      Defendant Larisa Sakhanskiy shall file her motion for new trial no later than

 8 October 1, 2015.
 9                 b.      The government’s oppositions to defendant Alexander Sakhanskiy’s Motion and

10 any timely motion filed by defendant Larisa Sakhanskiy shall be filed on or before October 22, 2015.
11                 c.      The defendants’ optional reply briefs shall be file on or before October 29, 2015.

12                 c.      If necessary, the Court will hear the Motion on November 5, 2015, or on another

13 hearing date suitable to the Court’s calendar.
14          Respectfully submitted,

15
16 Dated: September 25, 2015                                 BENJAMIN B. WAGNER
                                                             United States Attorney
17
18                                                   By: /s/ Nirav K. Desai
                                                         MICHAEL D. ANDERSON
19                                                       NIRAV K. DESAI
                                                         Assistant United States Attorneys
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21
     Dated: September 25, 2015                           /s/ Mark J. Reichel
22                                                   By: (authorized on September 25, 2015)
                                                         MARK J. REICHEL, ESQ.
23                                                       Counsel for Defendant Alexander Sakhanskiy
24
25
     Dated: September 25, 2015                           /s/ Shari Rusk
26                                                   By: (authorized on September 25, 2015)
                                                         SHARI RUSK, ESQ
27                                                       Counsel for Defendant Larisa Sakhanskiy
28


      STIPULATION & ORDER                                2
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 1                                                   ORDER

 2          The Court has read and considered the stipulation of the United States of America

 3 (“government”) and defendants Alexander Sakhanskiy and Larisa Sakhanskiy, and for good cause
 4 shown approves the stipulation and sets the following briefing schedule on defendant Alexander
 5 Sakhanskiy’s Motion for Judgment of Acquittal, or in the Alternative, Motion for New Trial (ECF No.
 6 164), and on defendant Larisa Sakhanskiy’s forthcoming motion for new trial:
 7          1.     Defendant Larisa Sakhanskiy shall file her motion for new trial no later than October 1,

 8 2015;
 9          2.     The government’s oppositions to defendant Alexander Sakhanskiy’s Motion for

10 Judgment of Acquittal, or in the Alternative, Motion for New Trial, and defendant Larisa Sakhanskiy’s
11 forthcoming motion, shall be filed on or before October 22, 2015;
12          3.     Defendants’ reply briefs, if any, shall be filed on or before October 29, 2015.

13          4.     A hearing on the motion is set for November 5, 2015, at 9:00a.m.

14          IT IS SO ORDERED.

15 Dated: September 30, 2015
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      STIPULATION & ORDER                               3
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